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                                                        JURY TRIAL DEMANDED



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MISSOURI



ANTHONY HINES                                      )
                                                   )
                              Plaintiff,           )
                                                   )
                         v.                        )
                                                   )
MALLINCKRODT LLC AND                               )
COTTER CORP.,                                      )
                                                   )
                              Defendants.          )


                                           COMPLAINT

      COMES NOW Plaintiff, through counsel, and for his Complaint against

Mallinckrodt LLC and Cotter Corp. (“Defendants”), states as follows based on

personal knowledge as to his own acts and on information and belief as to all other

allegations:

                                      INTRODUCTION

      1.       Plaintiff brings this action against Defendants seeking redress for

bodily injury suffered by Plaintiff as a result of Defendants’ acts and omissions,

including their negligent acts and omissions, related to the processing, transport,

storage, handling, and disposal of hazardous, toxic, and radioactive materials in

close proximity to residential neighborhoods in and around St. Louis County,

Missouri.


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           REGULATORY HISTORY APPLICABLE TO MALLINCKRODT

      2.    Congress first established the Atomic Energy Commission (“AEC”) in

the Atomic Energy Act of 1946. In 1954 Congress replaced the Atomic Energy Act of

1946 with the Atomic Energy Act of 1954 (the “1954 Act”). The 1954 Act redefined

the atomic energy program by ending the government monopoly on technical data

and making the growth of a private commercial nuclear industry an urgent national

goal. The 1954 Act directed the AEC "to encourage widespread participation in the

development and utilization of atomic energy for peaceful purposes." At the same

time, the 1954 Act instructed the AEC to prepare regulations that would protect

public health and safety from radiation hazards.

      3.    The 1954 Act assigned the AEC three major roles: to continue its

weapons program, to promote the private use of atomic energy for peaceful

applications, and to protect public health and safety from the hazards of commercial

nuclear power. Those functions were in many respects inseparable and

incompatible, especially when combined in a single agency. The competing

responsibilities and the precedence that the AEC gave to its military and

promotional duties gradually damaged the agency's credibility on regulatory issues

and undermined public confidence in its safety program.

      4.    The AEC's regulatory staff, which was created soon after the passage

of the 1954 Act, confronted the task of writing regulations and devising licensing

procedures rigorous enough to assure safety but flexible enough to allow for new

findings and rapid changes in atomic technology. Within a short time the staff



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drafted rules and definitions on radiation protection standards. The AEC's radiation

protection regulations were first issued for public comment in 1955 and became

effective in 1957.      1


         5.       The regulations that became effective in 1957 were the first federal

regulations governing radiation in the United States. During the entire period of

1942 through 1957, there were no federal safety standards related to radioactive

material. No regulatory framework governing the safety of nuclear material or

radiation existed in the United States before 1957.

         6.       Mallinckrodt refined uranium at its facility in downtown St. Louis,

Missouri between 1942 and 1957.

         7.       According to a U.S. Army Corps of Engineers report, from 1942 to

1957, the plant had processed more than 50,000 tons of uranium product.

Contaminated scrap metal and miscellaneous radioactive wastes were transported

to SLAPS (defined herein) and buried on the western edge of the property. 2

         8.       Mallinckrodt transported and disposed of radioactive materials from

its facility in downtown St. Louis, Missouri to a 21.74-acre site in the vicinity of the

St. Louis Airport in north St. Louis County, Missouri, to a location known as SLAPS

(defined herein) between approximately 1946 and 1957.

         9.       Mallinckrodt stored the transported waste materials at the SLAPS

between 1946 and 1957.




1 Paragraphs 2 through 4 of this Complaint are verbatim statements or paraphrases of the Nuclear Regulatory
Commission published at http://www.nrc.gov/about-nrc/short-history.html.
2 http://www.mvs.usace.army.mil/Missions/CentersofExpertise/FormerlyUtilizedSitesRemedialActionProgram.aspx



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      10.    Mallinckrodt’s acts and omissions between approximately 1942 and

1957 caused the release of hazardous, toxic, and radioactive substances into the

environment along haul routes and in north St. Louis County, Missouri, thereby

contaminating the air, soil, surface water, and ground water along the haul routes

and in the area surrounding SLAPS and Coldwater Creek.

      11.    Mallinckrodt’s acts and omissions between approximately 1942 and

1957 proximately caused Plaintiff to be exposed to hazardous, toxic, and radioactive

substances in north St. Louis County, Missouri.

      12.    Mallinckrodt’s acts and omissions between approximately 1942 and

1957 proximately caused Plaintiff to suffer the injuries described in this Complaint.

      13.    Mallinckrodt’s acts and omissions, which are described in this

Complaint and which proximately caused the injuries complained of in this

Complaint, occurred between 1942 and1957. Between 1942 and February 1957

there were no federal regulations governing permissible levels of exposure of

radiation to members of the public and there were no federal regulations governing

permissible releases of radiation into the environment.

            REGULATORY HISTORY APPLICABLE TO COTTER

      14.    The AEC issued new regulations for public comments in 1959 and

made new regulations effective on January 1, 1961. According to the AEC, as set

forth in 25 FR 8595-8604, the basic approach of the AEC in 10 CFR Part 20 with

respect to levels of radiation and concentrations of radioactive materials in

unrestricted (general public) areas limited levels of radiation and concentrations of



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radioactive material which could be created in unrestricted areas by licensees,

without special authorization from the AEC, to specified low levels. These federal

regulations, which appeared at 10 CFR §§ 20.105 and 20.106, governed releases of

radiation in unrestricted areas.

      15.    The hazardous, toxic, and radioactive wastes residues were removed

from the SLAPS in various stages throughout the 1960s. Some of the radioactive

waste was transported to property at 9200 Latty Avenue (now known as the HISS

and the Futura Coatings Company properties) for storage.

      16.    In 1969, Cotter purchased, stored, and processed the hazardous, toxic,

and radioactive waste that had been transported from the SLAPS to Latty Avenue.

Between 1969 and 1973, Cotter stored, processed, and transported hazardous, toxic,

and radioactive wastes out of state and to West Lake Landfill in north St. Louis

County, Misouri.

      17.    Cotter’s acts and omissions between approximately 1969 and 1973

caused the release of hazardous, toxic, and radioactive substances into the

environment in north St. Louis County, Missouri, thereby contaminating the air,

soil, surface water, and ground water in the area.

      18.    Cotter’s acts and omissions between approximately 1969 and 1973

proximately caused Plaintiff to be exposed to hazardous, toxic, and radioactive

substances in north St. Louis County, Missouri.

      19.    Cotter’s acts and omissions between approximately 1969 and 1973

proximately caused Plaintiff to suffer the injuries described in this Complaint.



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      20.    Cotter’s acts and omissions, which are described in this Complaint and

which proximately caused the injuries complained of in this Complaint, occurred

between 1969 and 1973. During the entire period between 1969 and 1973, no

federal regulations governed the permissible or maximum amount of radiation to

which a member of the general public could be exposed. Instead, between 1969 and

1973, federal regulations governed levels of radiation and concentrations of

radioactive material that could be created in unrestricted areas by licensees,

without special authorization from the AEC.

      21.    Between approximately 1957 and 1989, the numerical radiation dose

threshold regarding members of the general public included a 500 milirem per year

limit. In and after 1989, the numerical radiation dose threshold regarding members

of the general public included and includes a 100 milirem per year limit.

                         JURISDICTION AND VENUE

      22.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 because this action arises under a law of the United States,

namely, the United States Price-Anderson Act (“PAA”), 42 U.S.C. § 2210 et seq.

This Court may also exercise subject matter jurisdiction over this action directly

pursuant to Section 2210(n)(2) of the PAA, which provides the United States

District Court in the district where the nuclear incident takes place shall have

original jurisdiction with respect to any public liability action arising out of or

resulting from a nuclear incident.




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       23.    Venue is proper in this judicial district pursuant to 28 U.S.C. §

1391(b)(2) because a substantial part of the events or omissions giving rise to the

claims occurred in this district. Venue is also proper in this judicial district

pursuant to 42 U.S.C. § 2210(n)(2) because the nuclear incidents giving rise to

Plaintiff’s claims took place in this district.

                                        PARTIES

       24.    Plaintiff Anthony Hines currently resides at 1349 Snowbird Lane,

O’Fallon, Missouri 63366. From 1962 to 1974 and again from 1976 to 1982 Mr.

Hines lived on Sadonia Avenue in Calverton Park just east of the FUSRAP Site. As

a child, Mr. Hines would often play in Coldwater Creek at the point nearest to Latty

Avenue. From 1978 to 1981, Mr. Hines attended McCluer High School, located at

1896 S New Florissant Rd, Florissant, MO 63031. Additionally, from 1981 to 1982

Mr. Hines worked at O’Hare Flight Kitchen in Berkeley, Missouri. Throughout his

time at this residence places of employments, Mr. Hines regularly engaged in

outdoor recreational activities in and around SLAPS, HISS, and Coldwater Creek.

Subsequently, Mr. Hines was diagnosed with Mantle Cell Lymphoma. As a result of

Defendants’ acts and omissions described in this Complaint, Mr. Hines developed

significant and debilitating personal injuries. As a result of Defendants’ acts and

omissions described in this Complaint, Mr. Hines suffered physical injury, pain, and

suffering. As a result of Defendants’ acts and omissions described in this Complaint,

Defendants released radiation into unrestricted areas in the environment in excess

of the levels permitted by federal regulations in effect between 1957 and at least



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1974. As a result of Defendants’ acts and omissions described in this Complaint, Mr.

Hines was exposed to some of this radiation, and his exposure levels exceeded the

normal background level. Furthermore, Plaintiff did not know of, nor reasonably

could have known of, his injuries and/or their cause until within five years of filing

this suit.

       25.    Mallinckrodt LLC, a Delaware limited liability company, maintains its

headquarters in Missouri at 675 McDonnell Blvd., Hazelwood, MO 63042, and is an

indirect affiliate of Mallinckrodt plc, a publically owned company. The entities

referred to in paragraphs 25(B)(1) and 25(B)(2) will be referred to collectively as

“Mallinckrodt.” Upon information and belief, in 1986, Mallinckrodt Missouri was

broken up and sold to MI Holdings, Inc. and Mallinckrodt, Inc. Upon information

and belief, Mallinckrodt Chemical Works is now known as or has been merged into

MI Holdings and/or Mallinckrodt, Inc. Upon information and belief, Mallinckrodt

LLC is the successor-in-interest to Mallinckrodt, Inc. and Mallinckrodt Chemical

Works. Mallinckrodt Nuclear Corporation was formerly a wholly owned subsidiary

of Mallinckrodt Chemical Works. All foregoing Mallinckrodt entities will be referred

to collectively as “Mallinckrodt.”

       26.   Cotter Corporation (“Cotter”), a Colorado corporation with its principal

place of business in Englewood, Colorado, operates as a subsidiary of General

Atomics, Inc., a California corporation. It was purchased by and became a wholly

owned subsidiary of Commonwealth Edison in 1975. Through its various mining

and milling operations, Cotter has produced uranium, vanadium, molybdenum,



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silver, lead, zinc, copper, selenium, nickel, cobalt, tungsten and limestone. In

December 1969, Cotter purchased the remaining residues at 9200 Latty Avenue and

dried and shipped those residues to Colorado at a rate of approximately 400 tons

per day. B&K Construction Company was engaged by Cotter for this purpose.

                                 BACKGROUND

      27.    During World War II, the nation began a top-secret project to build the

first atomic bomb. At this time, the Army created the Manhattan Engineering

District (“MED”) to carry out much of the work of the so-called “Manhattan Project.”

After the war, the nation sought ways to use nuclear energy for peaceful purposes

and formed the Atomic Energy Commission (“AEC”) in 1946 to continue this nuclear

research. Some of this work was performed in the St. Louis area.

      28.    From 1942 to 1957, under contracts with the MED and/or the AEC, the

Destrehan Street Refinery and Metal Plant (which later became Mallinckrodt

Chemical Works) processed natural uranium into uranium oxide, trioxide, and

metal uranium at a facility in downtown St. Louis, Missouri. This facility became

known as the St. Louis Downtown Site (“SLDS”). The SLDS site became

contaminated with hazardous, toxic, and radioactive substances as a result.

      29.    In 1946, MED acquired the St. Louis Airport Site (“SLAPS”), a 21-acre

site just north of the St. Louis Airport, for storage of hazardous, toxic, and

radioactive waste residues from the SLDS. In subsequent years, the SLAPS and

adjacent properties became contaminated with hazardous, toxic, and radioactive

substances as a result.



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         30.       During the 1960’s, private companies purchased the hazardous, toxic

and radioactive waste residues being stored at the SLAPS and began hauling them

from the SLAPS to a site on Latty Avenue in Berkeley, Missouri (part of this site

later became the Hazelwood Interim Storage Site (“HISS”)). These waste residues,

which contained valuable metals, were sold for their commercial value and shipped

to various other destinations. The Latty Avenue site became contaminated with

hazardous, toxic, and radioactive substances as a result.

         31.       Transport and migration of hazardous, toxic, and radioactive waste

residues to/from the SLDS, the SLAPS and the HISS also spread hazardous, toxic,

and radioactive substances along haul routes to nearby Vicinity Properties (“VPs”).

Even though the federal government was not responsible for this contamination,

Congress directed that the government add these sites to the Formerly Utilized

Sites Remedial Action Program (“FUSRAP”). 3

                                   THE ST. LOUIS FUSRAP SITES 4

         32.       Between 1942 and 1973, Defendants processed, stored, handled, and/or

disposed of large volumes of hazardous, toxic, and radioactive materials in four

separate geographical areas located in and around metropolitan St. Louis, Missouri.

The designations assigned to these sites are the St. Louis Downtown Site, the North

St. Louis County Sites, the Madison Site, and the West Lake Landfill Site.




3 The Formerly Utilized Sites Remedial Action Program (FUSRAP) is an environmental remediation program that addresses

radiological contamination generated by activities of the Manhattan Engineer District and the Atomic Energy Commission
(“MED/AEC”) during development of the atomic weapons in the 1940s and 50s.
4
  The St. Louis FUSRAP Sites include: (1) the St. Louis Downtown Site (“SLDS”); (2) the St. Louis Airport Site (“SLAPS”); (3)
the Hazelwood Interim Storage Site (“HISS”); (4) the Vicinity Properties (“VPs”); and (5) the Madison Site.

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The St. Louis Downtown Site (“SLDS”):

         33.       The St. Louis Downtown Site is located in an industrial area on the

eastern border of St. Louis, approximately 300 feet west of the Mississippi River.

The property is about 11 miles southeast of the SLAPS and the Lambert-St. Louis

International Airport. The SLDS encompasses nearly 45 acres and is presently

owned and operated by Mallinckrodt, Inc. (formerly Mallinckrodt Chemical Works).

The property includes many buildings and other facilities involved in chemical

production.

         34.       From 1942 to 1957, Mallinckrodt used the SLDS for processing various

forms of uranium compounds, for machining, and for recovery of uranium metal. In

1946, Mallinckrodt began the manufacture of uranium dioxide from pitchblende ore

at a newly constructed plant at the SLDS.

         35.       When Mallinckrodt ran out of space at the SLDS to store the

hazardous, toxic and radioactive waste residues left over from the production

process, a 21.7-acre tract of land (now known as the SLAPS) was procured in north

St. Louis County to store hazardous, toxic and radioactive waste residues from

uranium processing at the SLDS.

The North St. Louis County Sites: 5

         36.       The St. Louis Airport Site is an unincorporated 21.7-acre property

located near the St. Louis Airport in north St. Louis County. The SLAPS is bounded




5The North St. Louis County Sites consist of: (1) the St. Louis Airport Site; (2) the SLAPS Vicinity Properties (VPs); and (3)
the Latty Avenue Properties. In October 1989, EPA placed three of the North St. Louis County site properties (SLAPS, HISS,
and Futura Coatings Company) on the Superfund National Priorities List (“NPL”).

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by McDonnell Boulevard to the north, Banshee Road and Norfolk Southern Railroad

on the south, and Coldwater Creek on the west.

      37.    Mallinckrodt used the SLAPS to store hazardous, toxic and radioactive

waste residues generated by Mallinckrodt during uranium processing activities at

the SLDS. These materials included, but were not limited to, pitchblende raffinate

residues, radium-bearing residues, barium sulfate cake, Colorado raffinate residues

and contaminated scrap.

      38.    Mallinckrodt stored the radioactive materials in bulk on the open

ground or buried at the western end (near Coldwater Creek) and at other parts of

the SLAPS.

      39.    By 1960, there were approximately 50,000 empty drums and

approximately 3,500 tons of miscellaneous contaminated steel and alloy scrap

stored onsite at SLAPS.

      40.    The SLAPS Vicinity Properties (“VPs”) consist of approximately 78

properties, including properties along former haul routes between the SLAPS and

the HISS, Coldwater Creek, the open fields (a former ball field area) immediately

north of the SLAPS, and other SLAPS contiguous properties. The SLAPS VPs

impacted by hazardous, toxic, and radioactive wastes are located along the haul

routes between the SLAPS and the HISS, and include both recreational and

residential properties. These haul routes include Eva Avenue, Frost Avenue,

Hazelwood Avenue, McDonnell Boulevard, and Pershall Road.




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       41.   Coldwater Creek flows for 500 feet [153 meters] along the western

border of the SLAPS. The creek originates 3.6 miles [5.8 kilometers] to the south of

the SLAPS and continues for 15 miles [24 kilometers] in a northeasterly direction

through the City of Hazelwood, the City of Florissant, unincorporated areas of St.

Louis County, and along the northern edge of the community of Black Jack, until it

discharges into the Missouri River. Coldwater Creek is generally accessible to the

public, except for approximately 1.2 miles [1.9 kilometers], which flows under the

Lambert-St. Louis International Airport. Coldwater Creek is contaminated with

hazardous, toxic, and radioactive materials.

       42.   The Latty Avenue Properties are located in an area approximately one

half mile [1 kilometer] north of the St. Louis Airport in the towns of Hazelwood and

Berkeley, Missouri. The Properties include: (1) the Hazelwood Interim Storage Site;

(2) the Futura Coatings Site (used for manufacturing plastic coatings); and (3)

several Vicinity Properties on Latty Avenue. The Latty Avenue Properties have

elevated levels of residual uranium and thorium on site.

       43.   From approximately 1961 to 1990, hazardous, toxic, and radioactive

materials, specifically those involved in the processing of columbium and tantalum

(C-T), were used in activities for commercial clients at the SLDS. The

contamination present in the soil and groundwater at the FUSRAP sites may be

attributed to releases of radionuclides to the environment during the uranium

processing operations, the C-T processing operations, or operations unique to the

VPs.



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        44.      Hundreds of thousands of tons of hazardous, toxic, and radioactive

wastes were transported from the SLDS to the SLAPS for storage, including

radium-bearing residues, refined cake, barium sulfate cake, and C-liner slag. Over

time, these hazardous, toxic, and radioactive waste residues migrated directly from

the SLAPS onto other sites (via Coldwater Creek) or were deposited as the residues

were hauled along transportation routes, contaminating the soils and sediments of

the Vicinity Properties.

        45.      The SLDS and the North St. Louis County Sites have elevated levels of

uranium, thorium, and radium in soils and groundwater. The EPA has concluded

that direct contact with, or accidental ingestion of, contaminated soils or

groundwater near these sites may pose health risks to individuals.

                                              SITE HISTORY

        46.      Mallinckrodt processed uranium feed material for the production of

uranium metal from 1942 to 1957 under contracts with the Manhattan Engineer

District and the Atomic Energy Commission (“MED” / “AEC”). The work was

performed at the Mallinckrodt Plant, located at the SLDS. Within a year, the SLDS

ran out of space to store the hazardous, toxic, and radioactive waste residues left

over from the production process.

        47.      Beginning in 1946, the hazardous, toxic, and radioactive waste

residues left over from the production process at the SLDS were being transported

to the SLAPS for storage. 6 Scrap metal, chemical drums, and other contaminated


6
  The following byproducts and scrap were transported mainly from the SLDS to the SLAPS for storage: padium-bearing
residues (“K-65” residues); AM-7 pitchblende raffinate cake; AM-10 Colorado raffinate cake; AJ-4 barium sulfate cake

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debris were placed in low areas at the SLAPS adjacent to Coldwater Creek on the

western end of the property and covered with dirt to make a level storage area.

         48.      By 1960, there were approximately 50,000 chemical drums and

approximately 3,500 tons of miscellaneous contaminated steel and alloy scrap

stored onsite at SLAPS directly adjacent to Coldwater Creek. Coldwater Creek is

the major drainage mechanism for the SLAPS, the SLAPS VPs, and the Latty

Avenue Properties. It has been designated a Metropolitan No-Discharge Stream.

Through time, various meanders in Coldwater Creek were backfilled to support

construction, resulting in commingling of the site soils and sediments with

hazardous, toxic, and radioactive wastes brought to the SLAPS.

         49.      These hazardous, toxic, and radioactive wastes residues were removed

from the SLAPS in various stages throughout the 1960s. Initially, the residues were

sold     to    Contemporary            Metals       Corporation          (“Contemporary            Metals”).       Soon

thereafter, their subsidiary, Continental Mining & Milling Company (“CMM”),

began transporting the waste residues to property at 9200 Latty Avenue (now

known as the HISS and the Futura Coatings Company properties) for storage.

         50.      After CMM went into receivership, the Commercial Discount

Corporation (“CDC”) of Chicago, Illinois, took possession of its assets, including the

Latty Avenue Property and the hazardous, toxic, and radioactive waste residues

stored therein.




(unleached) and AJ-4 barium cake (leached); C-liner slag that was created during metal firming operations; C-701 U scalping
of magnesium fluoride, Japanese precipitates, Vitro residues from the Vitro Corporation’s facility in Canonsburg, PA; and
empty drums, contaminated steel and alloy scrap, and building debris.

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      51.    In 1969, the remaining hazardous, toxic, and radioactive wastes

residues at Latty Avenue were sold to the Cotter Corporation (“Cotter”) of Canon

City, Colorado. In 1970, Cotter employed B&K Construction Company of St. Louis,

Missouri, to transport these waste residues out of state. By late 1970, most of the

residues had shipped offsite, except for 10,000 tons of Colorado raffinate and 8,700

tons of leached barium sulphate raffinates.

      52.    In 1973, Cotter disposed of approximately 47,700 tons of soil mixed

with uranium ore processing residues, including leached barium sulfate, uranium,

and thorium, into the West Lake Landfill. This radiologically contaminated soil was

routinely used as cover for municipal wastes and other landfill operations.

      53.    Since 1946, residues have migrated from the SLAPS (via runoff onto

adjacent properties and Coldwater Creek or wind) or were released or otherwise

deposited when material was transported along haul routes, contaminating the soil

and sediments at the SLAPS VPs and the Latty Avenue Properties.

      54.    During the relocation of waste material, improper handling and

transportation from the SLAPS to the Latty Avenue Sites, caused contamination to

spread along haul routes. Improper storage exacerbated the contamination and

caused adjacent properties (the SLAPS and the Latty Avenue Vicinity Properties

(VPs)) to be contaminated.

                   INVESTIGATION OF CONTAMINATION

      55.    In October 1989, Congress added the SLAPS, the HISS and the Futura

Site to the U.S. EPA’s NPL.



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      56.    In 1992, the Madison Site was added to the FUSRAP list slated for

cleanup. Approximately two cubic yards of contaminated uranium and thorium dust

were located on overhead surfaces. Forty cubic yards of contaminated dust and

materials had to be sent offsite for disposal.

      57.    In 1994, the Department of Energy (“DOE”) issued a Remedial

Investigation (“RI”) Report summarizing the results of previous investigations

conducted at the North St. Louis County Sites and SLDS. The RI Report concluded

that contamination is present in both surface and subsurface soils at the North St.

Louis County Sites.

      58.    In 1995, DOE issued an RI Addendum Report to summarize the results

of an additional investigation conducted to fill the data gaps identified in the RI

Report. The activities associated with this investigation included, but were not

limited to, soil sampling at the SLAPS VPs; sediment sampling in Coldwater Creek;

installation of monitoring wells at the SLAPS; vegetation sampling along ditches

next to the haul roads; and background soil and ground-water sampling. The results

of the investigation confirmed the presence of widespread radioactive contamination

of surface and subsurface soils at the North St. Louis County Sites.

            TOPOGRAPHY AND DRAINAGE OF CONTAMINANTS

      59.    The North St. Louis County and the SLDS sites are located on a

modest upland area south of the Missouri River floodplain. The upland area

surrounds a topographic depression known as the Florissant Basin.




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      60.    Coldwater Creek is the major drainage mechanism for the SLAPS, the

SLAPS VPs, and the Latty Avenue Properties. It has been designated a

Metropolitan No-Discharge Stream. Coldwater Creek flows adjacent to the SLAPS

and the SLAPS VPs, then meanders near the HISS, the Futura Site, and other

Latty Avenue Properties and continues to flow through northern St. Louis County

until it discharges into the Missouri River.

      61.    Coldwater Creek floods areas of the North St. Louis County Sites

including portions of the SLAPS, the HISS, the Futura Site, and several VPs. The

runoff from precipitation that enters Coldwater Creek in a given unit of time

greatly exceeds the predevelopment quantities. This runoff overloads Coldwater

Creek and increases the likelihood of local and area-wide flooding.

      62.    Upon information and belief, the SLAPS and the Latty Avenue VPs,

including impacted areas along Coldwater Creek, were contaminated with radium,

thorium and uranium. Investigations have determined that contamination levels at

the North St. Louis County Sites exceed federal dose limits.

      63.    On-site sampling at the SLAPS, the HISS and the Futura Sites found

elevated levels of hazardous, toxic, and radioactive materials in the groundwater,

soils, and air, in excess of regional isotope background values.

      64.    Operations at the St. Louis FUSRAP Sites have included, but were not

limited to, the processing, storing, handling and/or disposing of uranium, enriched

uranium, and other radioactive materials constituting source, special nuclear, or

nuclear by-product materials as defined in the Atomic Energy Act, 42 U.S.C. § 2011



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et seq. These radioactive materials, their byproducts, and their decay (or

“daughter”) products are highly toxic and carcinogenic.

      65.    Operations at the St. Louis FUSRAP Sites have also involved the use

of nonradioactive chemicals, many of which are classified as hazardous under

applicable federal law. See, e.g., 42 U.S.C. § 9601(14); 40 C.F.R. § 302.4 [including

tables]; 42 U.S.C. § 6903(5); 40 C.F.R. § 261.3; and 40 C.F.R. Part 261, Subpart D.

      66.    Defendants’   processing,   storage,   handling   and/or   disposal      of

hazardous, toxic, and radioactive materials at the St. Louis FUSRAP Sites have

generated significant quantities of substances that are highly toxic to humans and

the environment and are carcinogenic.

      67.    Throughout the history of St. Louis FUSRAP Sites, each Defendant (or

its predecessor in interest) caused recurrent releases of hazardous, toxic, and

radioactive materials into the environment, in complete disregard for applicable law

and for the health and safety of the surrounding communities and the natural

environment. These negligent, grossly negligent, m and reckless releases occurred

in various ways, including through direct and indirect discharges of radioactive and

toxic materials into public water bodies, such as Coldwater Creek; the exposure of

workers to these materials, who then in turn spread contamination outside the

worksite; and the improper disposal of hazardous, toxic, and radioactive materials.

      68.    These negligent, grossly negligent, and reckless releases resulted in

Plaintiff’s exposure to hazardous, toxic, and radioactive materials. Moreover,

because of the long half-life of the radioactive substances involved, persons



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currently living near the St. Louis FUSRAP Sites have been, and will continue to

be, exposed to these dangerous substances.

      69.    Upon information and belief, the substances to which Plaintiff and his

communities were exposed include, but were not limited to, the natural forms and

various isotopes of cesium, thorium, radium, uranium, and radon. Some of these

substances were used in the conduct of Defendants’ operations, and some were

created as by-products or decay (“daughter”) products.

     CAUSE OF ACTION PURSUANT TO THE PRICE ANDERSON ACT

      70.    Plaintiff incorporates by reference the preceding paragraphs of this

Complaint.

      71.    In 1957, Congress amended the Atomic Energy Act to implement its

policy to foster private sector participation in the nuclear energy industry. These

1957 amendments became known as the Price-Anderson Act (“PAA”). The uranium,

thorium, and other radioactive substances processed, handled, stored, and/or

disposed by Defendants at the St. Louis FUSRAP Sites include nuclear by-product

materials, special nuclear materials, and/or source materials. 42 U.S.C. § 2014(e),

(z), (aa). Any release of these by-product, special nuclear, or source materials

causing bodily injury, sickness, disease, death, loss or damage to property, or loss of

use of property constitutes a “nuclear incident” under the terms of the Price-

Anderson Act. 42 U.S.C. § 2014(q).

      72.    Plaintiff further asserts that Defendants’ acts and omissions and

negligent releases of hazardous, toxic, and radioactive waste materials has exposed



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Plaintiff to highly dangerous materials. Plaintiff suffered bodily injury, sickness,

and disease, as a direct and proximate result of their exposures. Plaintiff’s cause of

action therefore asserts legal liability based upon a “nuclear incident,” or series of

such incidents, and is consequently a “public liability action” within the terms of the

PAA.

       73.   Each Defendant’s conduct constituted a “nuclear incident” within the

meaning of the PAA because it was an occurrence within the United States causing

bodily injury, sickness, disease, or death arising out of or resulting from the

radioactive, toxic, explosive, or other hazardous properties of source, special

nuclear, or byproduct material.

       74.   Pursuant to the PAA, the substantive rules for decision in this action

arising under 28 U.S.C. § 2210 shall be derived from the law of the State in which

the nuclear incident involved occurred, namely, Missouri, unless such law is

inconsistent with the provisions of such section.

       75.   Missouri substantive rules for decision provide that a person is strictly

liable for harm, injury, or damage arising from an abnormally dangerous activity.

Missouri substantive rules for decision provide that handling nuclear materials

constitutes an abnormally dangerous activity.

       76.   Defendants’ conduct in the processing, handling, storage, and/or

disposal of hazardous, toxic, and radioactive waste materials posed significant risk

of harm to persons living and working in the vicinity of the operation. The

consequences of nuclear accidents or incidents to health, property, and the



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environment are extremely dire, and can be measured in millions, if not billions of

dollars. It is not possible to eliminate all of the risk by taking reasonable

precautions. Finally, the processing, handling, storage, and/or disposal of

hazardous, toxic, and radioactive waste materials has never been a matter of

common usage; indeed, private operators historically were not permitted to engage

in such activities at all. The conduct of Defendants’ activities at the St. Louis

FUSRAP Sites constituted abnormally dangerous activities.

      77.    In addition, with the knowledge of the environmental and health

hazards associated with the processing, handling, storage, and/or disposal of

hazardous, toxic, and radioactive waste materials, Defendants chose to conduct

their activities near residential communities such as Berkley, Hazelwood, and

Florissant, Missouri. Although Defendants’ activities were abnormally dangerous

per se, the location of such activities in well-populated areas such as north St. Louis

County, Missouri would independently have rendered them abnormally dangerous.

      78.    As a direct and proximate result of Mallinckrodt’s processing,

handling, transportation, storage, and/or disposal of hazardous, toxic, and

radioactive waste materials at the St. Louis FUSRAP Sites between 1942 and 1957,

there have been releases of such substances into the environment, thereby injuring

Plaintiff, whose injuries include actual present harm and increased risks of harm to

his person. These injuries constitute the type of harm the possibility of which made

Mallinckrodt’s activities abnormally dangerous.




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      79.    Mallinckrodt is therefore strictly liable to Plaintiff for all damages

which have resulted and which will continue to result from the processing,

handling, storage, and/or disposal of radioactive, toxic, and hazardous substances at

the St. Louis FUSRAP Sites.

      80.    Missouri substantive rules for decision provide that a person who fails

to use due care to avoid injuring another person may be held liable for anything

which appears to have been the natural and probable consequence of his act or

omission.

      81.    Defendants owed to Plaintiff a duty of due care which could only be

satisfied by the legal, safe, and proper processing, handling, storage, and/or disposal

of the radioactive, toxic, and hazardous substances in Defendants’ possession.

Defendants had a duty to prevent the discharge or release of such substances that

might harm Plaintiff. Defendants also had a specific duty to warn or notify Plaintiff

of the potential hazards of exposure to radioactive, toxic, and hazardous substances,

and to warn or notify Plaintiff of the fact that discharges or releases of these

substances had occurred and were likely to occur in the future.

      82.    Further, Defendants had a duty to comply with applicable state,

federal, and local governmental laws, regulations, and guidelines applicable to

persons processing, handling, storing, and/or disposing of hazardous, toxic, and

radioactive waste materials.

      83.    Defendants breached these duties by their negligent, grossly negligent,

and reckless processing, handling, storage, and/or disposal of hazardous, toxic, and



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radioactive waste materials at the St. Louis FUSRAP Sites. Such conduct was in

utter non-compliance with applicable federal, state, and local laws, regulations, and

guidelines. Defendants’ negligent, grossly negligent, reckless, and illegal conduct

resulted in the dangerous release of hazardous, toxic, and radioactive substances

into the communities surrounding the St. Louis FUSRAP Sites, including but not

limited to Berkley, Hazelwood, and Florissant, Missouri. These actual and

continued releases subjected Plaintiff to an unreasonable risk of harm, and to

actual injuries to their persons. Defendants also failed to warn Plaintiff of the

actual and threatened releases of such hazardous, toxic, and radioactive substances

and of the reasonably foreseeable effects of such releases, an omission that was

negligent, grossly negligent, and reckless. Finally, Defendants failed to act to

prevent their releases from harming Plaintiff.

      84.        According to an Army Corps of Engineers report, from 1976 until 1978,

radiological investigations of SLAPS and Latty Avenue were                                           performed.

Contamination was found at both sites, along with elevated radionuclide

concentrations onsite and north of the site in ditches along McDonnell Boulevard.

The ditches were designated for remedial action under the FUSRAP program. 7

      85.        According to an NRC report published in 1994, a survey of the Latty

Avenue property revealed radiation levels in excess of the NRC criteria for

unrestricted use. 8




      7   http://www.mvs.usace.army.mil/Missions/CentersofExpertise/FormerlyUtilizedSitesRemedialActionProgram.aspx
      8   See https://nrctracking.ornl.gov/tlts/PDFs/DL-032394_01.pdf

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      86.    Defendants    knew   about   the     hazards   associated   with nuclear

operations. The legislative history of the PAA, which was passed with the active

participation of private companies involved in the nuclear power industry, is rife

with references to the extreme consequences that could be expected in the event of a

nuclear incident. Indeed, the gravity of such consequences was a major contributing

factor to the passage of the PAA. These Defendants knew or should have known

that their generation, management, storage, use, disposal, releases, or discharges of

radioactive, toxic, and hazardous substances in connection with their operations at

the St. Louis FUSRAP Sites would result in actual injuries and increased risks to

the persons, property, and economic interests of the public without taking proper

safety precautions.

      87.    Defendants’ acts and omissions and their negligence were a direct and

proximate cause of Plaintiff’s injuries causing both actual present harm and/or

creating an increased risk of harm to person. Plaintiff is entitled to recover damages

for such injuries.

      88.    As a direct and proximate result of Defendants’ conduct described in

this Complaint, Plaintiff suffered and/or will continue to suffer great physical pain

and suffering, incurred hospital, medical, pharmaceutical, and other expenses.

Further, prior to the onset of their symptoms, Plaintiff was extremely active and

participated in numerous hobbies and activities, and as a result of their injuries,

Plaintiff was unable to engage in said activities, in which their participation was




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normal prior to developing symptoms and injuries resulting from exposure to toxic,

hazardous, and radioactive substances.

      89.    Because Defendants’ conduct was intentional, malicious, grossly

negligent, and reckless, Plaintiff seeks punitive damages.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands judgment in their favor and against

Defendants, jointly and severally, for general damages, special damages, punitive

and exemplary damages, prejudgment interest, costs of the action, and such further

relief as this Court deems proper.

October 5, 2018                 HUMPHREY, FARRINGTON & McCLAIN, P.C.

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